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FRED DELANEY, JUDGMENT IN A CIVIL CASE
Petitioner,
v.
DAVID MILLS, CASE NO: 04-3004 Ml/V

Respondent.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDEREDlr ADJUDGED, AND DECREED that, in
accordance With the Order Granting Leave to Proceed §§ Forma
Panperis, Order Correcting the Docket, Order of Dismissal Order
Denying Certificate of Appealability and Order Certifying Appeal
Not Taken in Good Faith, entered May 11,2005, this case is
DISMISSED.

APPROVED:

wood

P. MCCALLA
UN TED STATES DISTRICT JUDGE

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DATT:{(/ f Clerk of Court

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“w $L;FR Deputy Clerk

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 2:04-CV-03004 Was distributed by faX, mail, or direct printing on
May ]3, 2005 to the parties listed.

 

 

Fred Delaney

WEST TENNESSEE STATE PENITENTIARY
135149

P.O. Box l 150

Henning, TN 38041--] 15

Honorable J on McCalla
US DISTRICT COURT

